                                                                                     ATTORNEYS AT LAW
                                                                                     SUITE 5000
                                                                                     150 EAST GILMAN STREET
                                                                                     MADISON, WI 53703-1482
                                                                                     POST OFFICE BOX 1497
                                                                                     MADISON, WI 53701-1497
                                                                                     608.257.5035 TEL
                                                                                     608.258.4258 FAX
                                                                                     WWW.FOLEY.COM

                                                                                     WRITER’S DIRECT LINE
                                                                                     608.258.4273
                                                                                     rhowell@foley.com




                                                       March 30, 2020




Honorable Lynn Adelman
U.S District Court
Eastern District of Wisconsin
517 E. Wisconsin Avenue, Room 364
Milwaukee, WI 53202

              Re:     Schuyler File v. Jill M. Kastner, et al.
                      Case o. 19-cv-1063

Dear Judge Adelman:

              The Wisconsin State Bar Defendants take no position regarding Plaintiff’s Motion to
Disqualify, Dkt. 29, and will not be filing anything further with regard to that motion.

              Thank you for your consideration.

                                                       Sincerely,

                                                       /s/ Roberta F. Howell

                                                       Roberta F. Howell

RFH:th

cc: Daniel Suhr, Counsel for Plaintiff Schuyler File, via ECF
    Clayton P. Kawski, Assistant Attorney General, via ECF




 AUSTIN             DETROIT              MEXICO CITY                SACRAMENTO             TAMPA
 BOSTON             HOUSTON              MIAMI                      SAN DIEGO              WASHINGTON, D.C.
 CHICAGO            JACKSONVILLE         MILWAUKEE                  SAN FRANCISCO          BRUSSELS
 DALLAS             LOS ANGELES          NEW YORK                   SILICON VALLEY         TOKYO
 DENVER             MADISON              ORLANDO                    TALLAHASSEE

           Case 2:19-cv-01063-LA Filed 03/30/20 Page 1 of 1 Document 32                                       4818-7738-3864.1
